,Case 1:16-cV-02614-NGG-RER Document 25 Filed 11/03/16 Page 1 of 1 Page|D #: 273

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

VALUE WHOLESALE, INC.,

Plaintiff,

KB INSURANCE CO., LTD.,

Defendant.

 

16-CVM(NGG)(RER)
ECF CASE

STIPULATION ()F I)ISMISSAL
WITHOUT PREJUDICE
PURSUANT TO FRCP

41(3)(1)(A)(ii)

 

 

lT lS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all parties in the above entitled action, that Whereas no patty hereto is an

infant or incompetent person for Whom a committee has been appointed and no person not a

party has an interest in the subject matter of this action, the above entitled action be, and the

same hereby is pursuant to Fed. R. Civ. Proc. 4l(a)(l)(A)(ii) dismissed, WITHOUT

PREJUDICE, and Without cost or fees to either party as against the other. This stipulation may

be filed Without further notice With the Clerk of the Court.

Dated: Novernber 3, 2016

PLAINTIFF VALUE WHOLESALE, INC.
Richard S. Schurin, Esq.

STERN & SCHURIN LLP
Attorneysfor Plaz'nlt§§”

 

DEFENDANT KB INSURANCE CO., LTD.

Linda Fridegotto, Esq. \-
HAVKINS, ROSENFELD, RITZERT &
VARRIALE LLP

Az‘lorneysfor Defendant

  

 

